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  ALSTON HUNT FLOYD & ING
  Attorneys at Law
  A Law Corporation

  ANNA ELENTO-SNEED                   3412
  MALIA E. KAKOS                      7410
  1001 Bishop Street, Suite 1800
  Honolulu, Hawai`i 96813
  Telephone: (808) 524-1800
  Facsimile: (808) 524-4591
  E-mail:      aes@ahfi.com
               mkakos@ahfi.com

  Attorneys for Defendants
  WYNDHAM WORLDWIDE
  CORPORATION, WYNDHAM
  VACATION OWNERSHIP, INC.,
  WYNDHAM VACATION
  RESORTS, INC., MICHAEL JONAH,
  and TOM VIRAG

                   IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAI`I

  LIANE WILSON; and JOANNA                   Case No. CV11-00538 LEK BMK
  WHEELER, on behalf of themselves
  and on behalf of other females similarly
  situated,                                  DEFENDANTS WYNDHAM
                                             WORLDWIDE CORPORATION,
              Plaintiffs,                    WYNDHAM VACATION
                                             OWNERSHIP, INC., WYNDHAM
        vs.                                  VACATION RESORTS, INC.,
                                             MICHAEL JONAH, AND TOM
  WYNDHAM WORLDWIDE                          VIRAG'S FIRST AMENDED
  CORPORATION; WYNDHAM                       ANSWER TO COMPLAINT FILED
  VACATION OWNERSHIP, INC.;                  ON JUNE 6, 2011; CERTIFICATE
  WYNDHAM VACATION RESORTS,                  OF SERVICE
  INC.; MICHAEL JONAH; TOM
  VIRAG; DOES I–X; and ROE
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  BUSINESS ENTITIES I–X, inclusive,

                     Defendants.



            DEFENDANTS WYNDHAM WORLDWIDE CORPORATION,
                 WYNDHAM VACATION OWNERSHIP, INC.,
                  WYNDHAM VACATION RESORTS, INC.,
             MICHAEL JONAH AND TOM VIRAG'S FIRST AMENDED
               ANSWER TO COMPLAINT FILED ON JUNE 6, 2011

                     Defendants WYNDHAM WORLDWIDE CORPORATION,

  WYNDHAM VACATION OWNERSHIP, INC., WYNDHAM VACATION

  RESORTS, INC. (the “Corporate Defendants”), MICHAEL JONAH, and TOM

  VIRAG (together with the Corporate Defendants, the “Wyndham Defendants”) by

  and through their attorneys Alston Hunt Floyd & Ing, answers the Complaint filed

  by Plaintiffs on June 6, 2011, as follows:

                                      FIRST DEFENSE

                     1.   The Complaint fails to state a claim upon which relief can be

  granted.

                                    SECOND DEFENSE

                     2.   Wyndham Defendants deny the allegations contained in

  paragraphs 1, 2, 3, 7, 25, 30, 31, 32, 33, 34, 35, 36, 37, 38, 43, 44, 45, 46, 47, 49,

  51, 52, 54, 55, 58, 59, 60, 62, 67, 68, 71, 72, 73, 74, 76, 77, 78, 79, 80, 81, 82, 88,

  92, 93, 94, 98, 99, 100, 101, 102, 103, 104, 105, 106, 108, 109, 110, 111, 112, 113,
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  114, 116, 117, 118, 121, 122, 123, 124, 125, 126, 127, 129, 130, 131, 132, 133,

  134, 135, 136, 137, 139, 140, 141, 142, 143, 144 and 145 of the Complaint.

                     3.   Wyndham Defendants admit the allegations contained in

  paragraphs 4, 19, 23, 85, 90 and 96 of the Complaint.

                     4.   With respect to the allegations in paragraph 5 of the Complaint,

  Wyndham Defendants admit that venue is proper. Wyndham Defendants deny the

  remaining allegations contained in paragraph 5 of the Complaint.

                     5.   With respect to the allegations in paragraph 6 of the Complaint,

  Wyndham Defendants are without knowledge or information sufficient to form a

  belief as to the truth or accuracy as to whether Plaintiff received a “Right to Sue”

  letter on March 8, 2011, and on that basis deny this allegation. Wyndham

  Defendants deny the remaining allegations of paragraph 6 of the Complaint.

                     6.   With respect to the allegations in paragraph 8 of the Complaint,

  on information and belief Wyndham Defendants admit that Plaintiff Liane Wilson

  currently resides in Princeville, Hawai`i. Wyndham Defendants admit that Ms.

  Wilson was employed by Wyndham Vacation Resorts, Inc. (“WVR”) as a Sales

  Associate at WVR’s Bali Hai Villas location in Princeville, Kaua`i. Wyndham

  Defendants deny the remaining allegations of paragraph 8 of the Complaint.

                     7.   With respect to the allegations in paragraph 9 of the Complaint,

  on information and belief Wyndham Defendants admit that Plaintiff Joanna

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  Wheeler currently resides in Kapaa, Hawai`i. Wyndham Defendants admit that

  Ms. Wheeler was employed by Wyndham Vacation Resorts, Inc. (“WVR”) as a

  Sales Associate at WVR’s Bali Hai Villas location in Princeville, Kaua`i,

  Wyndham Defendants deny the remaining allegations of paragraph 9 of the

  Complaint.

                     8.    With respect to the allegations in paragraph 10 of the

  Complaint, Wyndham Defendants admit that Wyndham Worldwide Corporation

  (“WWC”) is a Delaware corporation with its principal place of business in

  Parsippany, NJ, admit that WWC is registered with the Secretary of State for the

  state of Hawai`i as a foreign profit corporation, and admit that WWC has a

  presence in major hospitality markets globally and in the United States. Wyndham

  Defendants deny the remaining allegations contained in paragraph 10 of the

  Complaint.

                     9.    Paragraph 11 of the complaint contains only a legal conclusion

  and, as such, no response is required. To the extent that a response is required,

  Wyndham Defendants deny that WWC has any employees in Hawai`i, but admit

  that WWC is an employer.

                     10.   With respect to the allegations in paragraph 12 of the

  Complaint, Wyndham Defendants admit that WWC has subsidiaries that operate

  within the lodging, vacation exchange/rental, and vacation ownership segments of

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  the hospitality industry. Wyndham Defendants deny the remaining allegations of

  paragraph 12 of the Complaint.

                     11.   With respect to the allegations in paragraph 13 of the

  Complaint, Wyndham Defendants admit that Wyndham Vacation Ownership, Inc.

  (“WVO”) is a Delaware corporation registered with the Secretary of State for the

  state of Hawai`i as a foreign profit corporation and regularly transacts business in

  the State of Hawai`i. Wyndham Defendants deny the remaining allegations

  contained in paragraph 13 of the Complaint.

                     12.   Paragraph 14 of the complaint contains only a legal conclusion

  and, as such, no response is required. To the extent that a response is required,

  Wyndham Defendants admit the allegations contained in paragraph 14 of the

  Complaint.

                     13.   With respect to the allegations in paragraph 15 of the

  Complaint, Wyndham Defendants admit that subsidiaries of WVO: 1) engage in

  the marketing and sales of vacation ownership interests, consumer financing in

  conjunction with the purchase of vacation ownership interests, property

  management services to property owners’ associations, and development and

  acquisition of vacation ownership resorts; and 2) WVO is headquartered in

  Orlando, Florida, and it has subsidiaries that maintain a network of

  approximately140 properties, 20,000 individual units, and over 800,000 property

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  owners across North America, the Caribbean, and the South Pacific. Wyndham

  Defendants deny the remaining allegations of paragraph 15 of the Complaint.

                     14.   With respect to the allegations in paragraph 16 of the

  Complaint, Wyndham Defendants admit that WVR is a Delaware corporation

  registered with the Secretary of State for the state of Hawai`i as a foreign profit

  corporation, admit that WVR regularly transacts business in and has multiple

  facilities in the state of Hawai`i and admit that WVR’s Secretary of State

  registration indicates that its business purpose is “timesharing”. Wyndham

  Defendants deny the remaining allegations contained in paragraph 16 of the

  Complaint.

                     15.   Paragraph 17 of the complaint contains only a legal conclusion

  and, as such, no response is required. To the extent that a response is required,

  Wyndham Defendants admit the allegations contained in paragraph 17 of the

  Complaint.

                     16.   With respect to the allegations in paragraph 18 of the

  Complaint, Wyndham Defendants admit that WVR is part of WVO and sells and

  finances vacation ownership interests and develops vacation ownership resorts.

  Wyndham Defendants deny the remaining allegations of paragraph 18 of the

  Complaint.

                     17.   With respect to the allegations in paragraph 20 of the

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  Complaint, Wyndham Defendants admit that Defendant Jonah has been employed

  by one or more Corporate Defendants as Vice President of Sales, that he is still

  employed in this location and same role and that he has a supervisory role.

  Wyndham Defendants deny the remaining allegations contained in paragraph 20 of

  the Complaint.

                     18.   Wyndham Defendants are without knowledge or information

  sufficient to form a belief as to the truth or accuracy of the allegations contained in

  paragraph 21 of the Complaint, and on that basis, deny them.

                     19.   With respect to the allegations in paragraph 22 of the

  Complaint, Wyndham Defendants admit that Pollard was employed by one or

  more of the Corporate Defendants as an Area Vice President and Vice President of

  Sales of the Princeville site; and at the end of 2010, Pollard was relocated to

  WVR’s Waikiki site and assumed the position of Vice President of Sales of the

  Waikiki site. Wyndham Defendants deny the remaining allegations of paragraph

  22 of the Complaint.

                     20.   With respect to the allegations in paragraph 24 of the

  Complaint, Wyndham Defendants admit that Defendant Virag has been employed

  by one or more Corporate Defendants as Director of Sales, that he is still employed

  in the same location and same role and that he holds a supervisory role. Wyndham

  Defendants deny the remaining allegations contained in paragraph 24 of the

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  Complaint.

                     21.   With respect to the allegations in paragraph 26 of the

  Complaint, Wyndham Defendants deny that they engaged in illegal actions. As to

  the remaining allegations in paragraph 26, Wyndham Defendants are without

  knowledge or information sufficient to form a belief as to the truth or accuracy of

  the allegations in paragraph 26 of the Complaint, and on that basis deny them.

                     22.   With respect to the allegations in paragraph 27 of the

  Complaint, Wyndham Defendants deny that they engaged in wrongful and/or

  illegal actions. As to the remaining allegations in paragraph 27, Wyndham

  Defendants are without knowledge or information sufficient to form a belief as to

  the truth or accuracy of the allegations in paragraph 27 of the Complaint, and on

  that basis deny them.

                     23.   Wyndham Defendants deny that they engaged in wrongful

  actions against Plaintiffs. As to the remaining allegations in paragraph 28,

  Wyndham Defendants are without knowledge or information sufficient to form a

  belief as to the truth or accuracy of the allegations in paragraph 28 of the

  Complaint, and on that basis deny them.

                     24.   Wyndham Defendants are without knowledge or information

  sufficient to form a belief as to the truth or accuracy of the allegations in paragraph

  29 of the Complaint, and on that basis deny them.

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                     25.   With respect to the allegations in paragraph 39 of the

  Complaint, Wyndham Defendants admit that Ms. Wilson began her employment

  with WVR in December 2006 as a Sales Associate at WVR’s Princeville, Hawai`i

  site and, at the time she applied and was offered employment at WVR, Ms. Wilson

  was not living on the island of Kauai. Wyndham Defendants are without

  knowledge or information sufficient to form a belief as to the truth or accuracy of

  the remaining allegations in paragraph 39 of the Complaint, and on that basis, deny

  them.

                     26.   With respect to the allegations in paragraph 40 of the

  Complaint, Wyndham Defendants admit that Ms. Wilson was a high performer and

  won some awards, including the Legend Award, the Top Performer of the Year,

  the Rookie of the Year, and the President’s club, and that one month her closing

  percentage was 68% during one month. Wyndham Defendants deny the remaining

  allegations contained in paragraph 40 of the Complaint

                     27.   Wyndham Defendants are without knowledge or information

  sufficient to form a belief as to the truth or accuracy of the allegations in paragraph

  41 of the Complaint, and on that basis deny them.

                     28.   Wyndham Defendants are without knowledge or information

  sufficient to form a belief as to the truth or accuracy of the allegations in paragraph

  42 of the Complaint, and on that basis deny them.

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                     29.   Wyndham Defendants are without knowledge or information

  sufficient to form a belief as to the truth or accuracy of the allegations in paragraph

  48 of the Complaint, and on that basis deny them.

                     30.   Wyndham Defendants are without knowledge or information

  sufficient to form a belief as to the truth or accuracy of the allegations in paragraph

  50 of the Complaint, and on that basis deny them.

                     31.   With respect to the allegations in Paragraph 53 of the

  Complaint, Wyndham Defendants admit that a sexual harassment training was

  conducted by Cindy Lund in September 2009 at the Princeville site, that this

  training involved computer modules, and that Mr. Jonah, to re-enforce the message

  of the presentation, cautioned his employees that they should exercise caution

  when making any remarks to others such as “check out the headlights on Holly.”

  Wyndham Defendants deny the remaining allegations contained in paragraph 53 of

  the Complaint.

                     32.   Wyndham Defendants are without knowledge or information

  sufficient to form a belief as to the truth or accuracy of the allegations in paragraph

  56 of the Complaint, and on that basis deny them

                     33.   Wyndham Defendants are without knowledge or information

  sufficient to form a belief as to the truth or accuracy of the allegations in paragraph

  57 of the Complaint, and on that basis deny them.

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                     34.   Wyndham Defendants are without knowledge or information

  sufficient to form a belief as to the truth or accuracy of the allegations in paragraph

  61 of the Complaint, and on that basis deny them.

                     35.   With respect to the allegations in paragraph 63 of the

  Complaint, Wyndham Defendants admit the following: 1) VP Jonah called Ms.

  Wilson into her office and informed her that she was being suspended; 2) VP

  Jonah stated that the directive had come from Vice President Mark Pollard and

  Andrea Ward and that Ms. Wilson was to go home and not return to the premises;

  and 3) Ms. Wilson was put on suspension for four days. Wyndham Defendants

  deny the remaining allegations of paragraph 63 of the Complaint.

                     36.   With respect to the allegations in paragraph 64 of the

  Complaint, Wyndham Defendants admit that VP Jonah contacted Ms. Wilson and

  requested that she return to the Princeville site to meet with him, and admit that VP

  Jonah informed her that numerous customers had complained about her

  misrepresentations. Wyndham Defendants deny the remaining allegations

  contained in paragraph 64 of the Complaint.

                     37.   With respect to the allegations in paragraph 65 of the

  Complaint, Wyndham Defendants admit that VP Jonah informed Ms. Wilson that

  the complaints against her would be investigated and that she remained suspended

  from work until October 4, 2009, when VP Jonah called her into his office and

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  advised her that she would be separated from employment. Wyndham Defendants

  deny the remaining allegations contained in paragraph 65 of the Complaint.

                     38.   With respect to the allegations in paragraph 66 of the

  Complaint, Wyndham Defendants admit that Ms. Wilson contacted HR Director

  Ward and requested that HR Director Ward provide her with written

  documentation of the reason why she was terminated and; in response, HR

  Director Ward informed her that the company did not provide any such written

  documentation. Wyndham Defendants deny the remaining allegations of

  paragraph 66 of the Complaint.

                     39.   With respect to the allegations in paragraph 69 of the

  Complaint, Wyndham Defendants admit that in March 2009 Ms. Wheeler began

  her employment with WVR as a Sales Associate at Wyndham’s Princeville,

  Hawai`i site. Wyndham Defendants deny the remaining allegations contained in

  paragraph 69 of the Complaint.

                     40.   Wyndham Defendants are without knowledge or information

  sufficient to form a belief as to the truth or accuracy of the allegations in paragraph

  70 of the Complaint, and on that basis deny them.

                     41.   With respect to the allegations in paragraph 75 of the

  Complaint, Wyndham Defendants admit that a portion of the Marketing

  Department Representatives’ compensation system depended on the volume of

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  qualified tours they were able to book for Sales Associates. Wyndham Defendants

  deny the remaining allegations of paragraph 75 of the Complaint.

                     42.   With respect to the allegations in paragraph 83 of the

  Complaint, Wyndham Defendants admit that Ms. Wheeler expressed concern to

  Defendant Michael Jonah about the termination of Ms. Wilson and that Mr. Jonah

  informed Ms. Wheeler that the termination of Ms. Wilson was a confidential

  matter. Wyndham Defendants deny the remaining allegations of paragraph 83 of

  the Complaint.

                     43.   With respect to the allegations in paragraph 84 of the

  Complaint, Wyndham Defendants on information and belief admit that Ms.

  Wheeler became pregnant in December 2009, in February 2010, she had a

  miscarriage and, because of the loss she went on leave. Wyndham Defendants

  deny the remaining allegations of paragraph 84 of the Complaint.

                     44.   With respect to the allegations in paragraph 86 of the

  Complaint, Wyndham Defendants admit that Ms. Wheeler fell below the minimum

  VPG and that Mr. Jonah informed her that she was being placed on Specific

  Performance (“SP”) plan for failing to meet the minimum. Wyndham Defendants

  deny the remaining allegations of paragraph 86 of the Complaint.

                     45.   With respect to the allegations in paragraph 87 of the

  Complaint, Wyndham Defendants admit as part of the SP plan, Ms. Wheeler was

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  required to make at least two sales per twelve tours in order to keep her job.

  Wyndham Defendants deny the remaining allegations of paragraph 87 of the

  Complaint.

                     46.   Wyndham Defendants deny the allegations contained in

  paragraph 88 of the Complaint.

                     47.   With respect to the allegations in paragraph 89 of the

  Complaint, Wyndham Defendants admit that on August 2, 2010, Mr. Virag pulled

  Ms. Wheeler aside and told her that he and VP Jonah wanted to meet with her in

  his office. Wyndham Defendants deny the remaining allegations contained in

  paragraph 89 of the Complaint.

                     48.   With respect to the allegations in paragraph 91 of the

  Complaint, Wyndham Defendants are without knowledge or information sufficient

  to form a belief as to the truth or accuracy of Ms. Wheeler’s feelings. Wyndham

  Defendants deny the remaining allegations of paragraph 91 of the Complaint.

                     49.   With respect to the allegations in paragraph 95 of the

  Complaint, Wyndham Defendants admit that Ms. Wheeler called Wyndham’s

  Human Resources office to complain about her termination, that she complained of

  being treated differently than one of her male co-workers, that the Human

  Resources office had not yet been informed of the termination, and that the Human

  Resources office told Ms. Wheeler that it would investigate. Wyndham

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  Defendants deny the remaining allegations of paragraph 95 of the Complaint.

                     50.   Wyndham Defendants admit that Ms. Wheeler’s employment

  was officially terminated on or around August 15, 2010. Wyndham Defendants

  deny the remaining allegations contained in paragraph 97 of the Complaint.

                     51.   In answer to the allegations contained in paragraph 107 of the

  Complaint, Wyndham Defendants incorporates by reference its answers to each of

  the allegations referenced therein.

                     52.   In answer to the allegations contained in paragraph 115 of the

  Complaint, Wyndham Defendants incorporates by reference its answers to each of

  the allegations referenced therein.

                     53.   Wyndham Defendants deny the allegations contained in the

  first paragraph 119 of the Complaint.

                     54.   Wyndham Defendants deny the allegations contained in the

  first paragraph 120 of the Complaint.

                     55.   In answer to the allegations contained in the second paragraph

  119 of the Complaint, Wyndham Defendants incorporates by reference its answers

  to each of the allegations referenced therein.

                     56.   Wyndham Defendants deny the allegations contained in the

  second paragraph 120 of the Complaint.



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                     57.   In answer to the allegations contained in paragraph 128 of the

  Complaint, Wyndham Defendants incorporates by reference its answers to each of

  the allegations referenced therein.

                     58.   In answer to the allegations contained in paragraph 138 of the

  Complaint, Wyndham Defendants incorporates by reference its answers to each of

  the allegations referenced therein.

                                      THIRD DEFENSE

                     59.   At all relevant times hereto, the Corporate Defendants had

  policies and practices in place to prevent and correct discrimination and retaliation

  in the workplace, and Plaintiffs unreasonably failed to take advantage of such

  preventive and corrective policies and practices provided by the Corporate

  Defendants or otherwise to avoid the harm alleged in the Complaint.

                                     FOURTH DEFENSE

                     60.   The Wyndham Defendants exercised reasonable care to prevent

  and promptly correct any alleged discrimination or harassment

                                       FIFTH DEFENSE

                     61.   Any and all conduct about which Plaintiffs complain was a

  proper exercise of management discretion by the Wyndham Defendants undertaken

  for legitimate and nondiscriminatory business reasons.



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                                       SIXTH DEFENSE

                     62.   The policies and procedures which Plaintiffs allege have

  disparately impacted women are justified by business necessity.

                                     SEVENTH DEFENSE

                     63.   The Wyndham Defendants had good and sufficient causes and

  reasons for taking all adverse employment actions, if any, which may have affected

  Plaintiffs. Accordingly, Plaintiffs are barred from any recovery in this Action.

                                      EIGHTH DEFENSE

                     64.   Plaintiffs are precluded from asserting any rights alleged in the

  Complaint by the doctrines of unclean hands, waiver, and/or estoppel.

                                       NINTH DEFENSE

                     65.   Damages allegedly sustained by Plaintiffs, if any, were caused

  by the actions of someone other than Wyndham Defendants, over whom the

  Wyndham Defendants had no authority or control, or by intervening or

  superseding cause.

                                       TENTH DEFENSE

                     66.   Plaintiffs’ retaliation claims fail because Plaintiffs did not

  engage in protected conduct.




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                                    ELEVENTH DEFENSE

                     67.   Plaintiffs have failed to mitigate their alleged damages and have

  failed to exercise due diligence in any efforts to mitigate their damages.

                                     TWELFTH DEFENSE

                     68.   Plaintiffs are not entitled to recover the punitive damages

  alleged in the Complaint because Plaintiffs have not set forth a sufficient factual

  basis for the imposition of punitive damages.

                                   THIRTEENTH DEFENSE

                     69.   Plaintiffs are not entitled to injunctive relief on any of their

  claims because there exist adequate remedies at law.

                                  FOURTEENTH DEFENSE

                     70.   Plaintiffs are not entitled to a declaratory judgment or the

  injunctive relief prayed for in the Complaint because Plaintiffs have failed to plead

  sufficient facts and/or meet the legal requirements which would entitle them to a

  declaratory judgment or injunctive relief.

                                    FIFTEENTH DEFENSE

                     71.   The Complaint and each purported cause of action alleged

  therein fail to allege facts sufficient to allow recovery of attorneys’ fees from

  Wyndham Defendants.



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                                     SIXTEENTH DEFENSE

                      72.   The Complaint and each claim alleged therein are barred to the

  extent that the allegations therein are not substantially identical to the claims in the

  administrative complaint filed by Plaintiffs.

                                  SEVENTEENTH DEFENSE

                      73.   Plaintiffs’ claims are barred, in whole or in part, by the

  applicable statutes of limitation.

                                   EIGHTEENTH DEFENSE

                      74.   Plaintiffs’ claims are not properly brought as a class action and

  this matter does not meet the requirements for class certification.

                                    NINETEENTH DEFENSE

                      75.   Plaintiffs' claims are barred, in whole or in part, because

  Plaintiffs have failed to exhaust their administrative remedies as required under

  applicable state and federal law, including but not limited to the administrative

  remedies set forth in Haw. Rev. Stat. Chapter 368.

                     WHEREFORE, the Wyndham Defendants pray that:

                     1.     Plaintiffs take nothing by way of their Complaint;

                     2.     The Complaint be dismissed;

                     3.     Plaintiffs’ claims for damages, including general,

 compensatory, punitive, and special damages, back and front pay, costs and
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 attorney’s fees, and any other requested relief, be denied;

                     4.    Judgment be entered in favor of the Wyndham Defendants;

                     5.    The Wyndham Defendants be awarded their costs herein; and

                     6.    The Wyndham Defendants have such other and further relief as
 this Court may deem just and proper.

                      DATED: Honolulu, Hawai`i, April 10, 2012.



                                            /s/ Malia E. Kakos
                                            ANNA ELENTO-SNEED
                                            MALIA E. KAKOS

                                            Attorneys for Defendants
                                            WYNDHAM WORLDWIDE
                                            CORPORATION, WYNDHAM
                                            VACATION OWNERSHIP, INC.,
                                            WYNDHAM VACATION RESORTS,
                                            INC., MICHAEL JONAH, and
                                            TOM VIRAG




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